 Case 1:22-mc-00453-LPS Document 27 Filed 03/31/23 Page 1 of 3 PageID #: 185




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

                                                )
GOLD RESERVE INC.,
                                                )
                                                )
       Plaintiff,
                                                )
                                                )
       v.
                                                )
                                                  Case No. 22-mc-00453-LPS
                                                )
BOLIVARIAN REPUBLIC OF
                                                )
VENEZUELA,
                                                )
                                                )
       Defendant.
                                                )
                                                )

                                    [PROPOSED] ORDER

       Per the Court’s Memorandum Opinion and Order on March 23, 2023 in OI European

Group B.V. v. Bolivarian Republic of Venezuela, 19-mc-290-LPS, Northrop Grumman Ship

Systems, Inc. v. The Ministry of Defense of the Republic of Venezuela, 20-mc-257-LPS, ACL1

Investments Ltd. et al v. Bolivarian Republic of Venezuela, 21-mc-46-LPS, and Rusoro Mining

Limited v. Bolivarian Republic of Venezuela, 21-mc-481-LPS (the “Other Creditor Actions”) (19-

mc-00290-LPS, D.I. 131-132), the motions for an order authorizing the issuance of a writ of

attachment fieri facias, pursuant to 28 U.S.C. § 1610(c) were conditionally granted.

       Per the Court’s March 23, 2023 Order, Gold Reserve, Inc. (“Gold Reserve”) met and

conferred with the parties in the Other Creditor Actions and Koch Minerals on March 27, 2023.

Rusuro Mining Ltd. v. Bolivarian Republic of Venezuela, 21-mc-00481-LPS, D.I. 44 (and Other

Creditor Actions).

       In Gold Reserve Inc. v. Bolivarian Republic of Venezuela, per this Court’s Order on January

30, 2023:

       [T]his Court’s rulings on the pending attachment motions in the Other Creditor
       Actions shall be binding on the parties in the above-captioned action, subject to the

                                                1
 Case 1:22-mc-00453-LPS Document 27 Filed 03/31/23 Page 2 of 3 PageID #: 186




        parties’ rights to appeal and paragraph 4 below, such that Gold Reserve’s Motion
        shall be granted to the extent the Court grants the pending attachment motions in
        the Other Creditor Actions and that Gold Reserve’s Motion for a Conditional Writ
        shall be denied to the extent the Court denies the pending attachment motions in
        the Other Creditor Actions, and that the parties shall jointly submit an implementing
        order within 7 days of the last decision entered by the Court in the Other Creditor
        Actions, whether or not an appeal is taken.

(D.I. 20).

        On March [x], 2023, the parties jointly submitted the present implementing Order

referred to in the Court’s January 30, 2023 Order.

        Accordingly, upon review and consideration of the above, and in accordance with 28

U.S.C. § 1610(c), Rule 69 of the Federal Rules of Civil Procedure, Local Rule 69.1, 10 Del. C. §

5031, 8 Del. C. § 324, and the Rules of the Delaware State Courts, it is hereby:

        ORDERED that, for the reasons stated in the Court’s March 23, 2023 Order, Intervenor

Petróleos de Venezuela, S.A. (“PDVSA”) is not entitled to foreign sovereign immunity and this

Court has subject matter jurisdiction over this action pursuant to the Foreign Sovereign Immunities

Act, 28 U.S.C. § 1330(a);

        ORDERED that Plaintiff Gold Reserve’s Motion for a Conditional Order Authorizing the

Issuance of a Writ of Attachment Fieri Facias (the “Motion”) is GRANTED;

        ORDERED that under 28 U.S.C. § 1610(c), a reasonable period of time has elapsed

following the entry of judgment in favor of Plaintiff;

        ORDERED that upon the Court's receipt of evidence that the U.S. Treasury Department's

Office of Foreign Assets Control (“OFAC”) has either (i) authorized the issuance and service of a

writ of attachment or (ii) removed the sanctions under which the PDV Holding, Inc. (“PDVH”)

Shares are currently blocked property, then the Clerk of this Court is authorized to affix its original

signature and seal on Plaintiff’s writ of attachment fieri facias;




                                                  2
 Case 1:22-mc-00453-LPS Document 27 Filed 03/31/23 Page 3 of 3 PageID #: 187




        ORDERED that, upon satisfaction of the prior conditions, and after the Clerk of this Court

has affixed its original signature and seal on Plaintiff’s writ of attachment fieri facias, the Clerk of

Court is authorized to issue the writ of attachment in aid of Plaintiff’s execution of its Judgment

against Defendant Bolivarian Republic of Venezuela;

        ORDERED that, the praecipe attached to the Motion is approved; and

        ORDERED that, upon satisfaction of the prior conditions, and after the Clerk of this Court

has issued Plaintiff’s writ of attachment fieri facias, the U.S. Marshals Service is authorized to

serve Plaintiff’s writ of attachment fieri facias, as signed, sealed, and issued by the Clerk of the

Court, on PDVH.

SO ORDERED this 30th day of March, 2023:




                                HONORABLE LEONARD P. STARK
                                UNITED STATES CIRCUIT COURT




                                                   3
WBD (US) 61057004v1
